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                    UNITED STATES DISTRICT COURT

                    SOUTHERN DISTRICT OF GEORGIA

                             STATESBORO DIVISION
CHARLES ANTHONY WILLIS,

      Movant,

V.                                           Case No. CV612-089
                                                      CR606-026
UNITES STATES OF AMERICA,

      Respondent.

                     REPORT AND RECOMMENDATION

      Serving a 151-month sentence, doe. 1007, Charles Anthony Willis

has filed a third 28 U.S.C. § 2255 motion, masquerading as an "Amended

Petition." Doe. 1520.' Willis challenges his sentence by invoking Alleyne

v. United States, U.S. -, 133 S. Ct. 2151 (2013) (extending what's

known as the Apprendi doctrine to statutory minimum penalties by

holding that "any fact that, by law, increases the penalty for a crime is

an 'element' that must be submitted to the jury"). Doe. 1520 at 4-25.

But "Alleyne's rule does not apply retroactively on collateral review."

Chester v. Warden, 552 F. App'x 887, 891 (11th Cir. 2014); United States


1
 The Court is citing only to the criminal docket and using its docketing software's
pagination; it may not always line up with each paper document's printed pagination.
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v. Winkelman, 746 F.3d 134, 136 (3rd Cir. 2014); McKeever v. United

States, 2014 WL 2593328 at * 5 (S.D. Ga. June 9, 2014). Because Willis

cannot meet § 2255's savings clause, 2 his latest § 2255 motion must (doe.

1520) must be DENIED as successive.

        Applying the Certificate of Appealability (COA) standards, the

Court discerns no COA-worthy issues at this stage of the litigation, so no

COA should issue. 28 U.S.C. § 2253(c)(1). And, as there are no non-

frivolous issues to raise on appeal, an appeal would not be taken in good

faith. Thus, in forma pauperis status on appeal should likewise be

DENIED. 28 U.S.C. § 1915(a)(3).

        SO REPORTED AND RECOMMENDED, thisay of June,

2014.


                                         /7
                                       UNITED STATES MAGISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA




2
 See Williams v. Warden. Fed. Bureau of Prisons, 713 F.3d 1332, 1343 (11th Cir.
2013) ([t]he savings clause of § 2255 applies to a claim when: 1) that claim is based
upon a retroactively applicable Supreme Court decision; 2) the holding of that
Supreme Court decision establishes the petitioner was convicted for a nonexistent
offense; and, 3) circuit law squarely foreclosed such a claim at the time it otherwise
should have been raised in the petitioners trial, appeal, or first § 2255 motion.");
Mendoza v. Hastings, 2014 WL 1665222 at * 3 (S.D. Ga. Apr. 25, 2014).

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